Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 1 of 27 PagelD 1553

Exhibit K
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 2 of 27 PagelD 1554

Page 1
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:15-cv-00192-EAK-AEP
AMERICAN GENERAL LIFE INSURANCE COMPANY,
Plaintiff,
Vs.
KEVIN H. BECHTEL, et al,
Defendants.
DEPOSITION OF: GARY RICHARDSON
TAKEN BY: DAVID DONAHUE, ESQUIRE
TAKEN: January 19, 2017
TIME: 9:30 a.m. - 12:00 p.m.
PLACE: Verbatim Professional Reporters
2202 N. Westshore Boulevard
Suite 200
Tampa, FL 33607
REPORTED BY: CHARLENE M. EANNEL, RPR
Court Reporter, Notary Public
PAGES 1 - 94
VERBATIM PROFESSIONAL REPORTERS, INC.
601 CLEVELAND STREET, SUITE 380
CLEARWATER, Fl 33755
(727) 442-7288

1/19/2017 American General Life Insurance v. Keven H. Bechtel, et al
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 3 of 27 PagelD 1555

Gary Richardson

From: John ekberg [John_fienergy@bellsouth.net]

Sent: Wednesday, January 16, 2008 2:59 PM

To: Gary Richardson

Ce: HEUMAN, BOB

Subject: 2008 AIG Bonus Compensation

Attachments: AIG Stand Alone Authorization, pdf; AIGLBG 2008 Bonus Schedules. pdf

| have absolutely terrific news!. Because of our long, happy and successful tenure with AIGLBG

we have received an exemption to be considered a "Stand Alone” entity, As you can see from

the Stand Alone and the NMO Bonus Structures that were introduced in December, there is

quite an advantage to being considered Stand Alone. For example, at your 6 million bonus

level which Dennis and | have requested for your MO contract, the Stand Alone production bonus for traditional products
ls 37.00% versus the 34.00% pald to an IMO/MO in the NMO structure.

| know you will put this additional 3,00% to good usel,

As you can see from the email authorizing our "Stand Alone" status, this applies to you and
the existing people (Kevin, Burt, etc.) that we have contracted now. New IMOs will be given
the production bonus from the NMO schedule and your bonus for those entitles will also be
pald on the NMO bonus structure. So, it may be useful to make some smaller entities MGAs
under the current contract.....,but you always have the option of hiting new IMOs with the
NMO bonus structure.

Please review all of your downline currently receiving production bonus from the Home Office and tell me what level you
want them on for 2008:

Life Brokerage Partners, LLC # 3P263 (Was 4 million in 07. Earned the 3 million level). De 87,
Burt Snover # 3Y869 (Was 350K level, Pald for 535K) B4%
Pro Integrity Ins. Agcy, Inc. # OVQ92 (Was at 100K "D" level) save. Fe 03 ">

Tim Kelly # 4C834 (Was at 100K "F" level) FEM sain,
Robert Willey # ONV59 (Was 100K “D" level) = sauna
Thomas Maquire # OZP36 (Was 100K "D" level), SQune.

Broker Dealer Services, Inc, # 38228 (Was 600K, Paid for 51K In '07),

This great news coupled with the restoration of the 5 points for Select-A-Term base commissions puts us In a wonderful
position for 2008 and beyond.

Please give me your 2008 bonus levels as soon as possible. Thank youl

John Ekberg (888) 668-3344

Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 4 of 27 PagelD 1556

Page 1 of4

john ekberg

From: <Pat_Russo@algag.com>
To: <John, fienergy@betisouth.net>
Co: <Dennis_Monroe@algag, com, “Financial Energy ins. Group” <fienergy@bellsouth.net>;

<Patil Nevwall@sigag.com>; <Paul_Hoecker@algag.com>
Sent: Wednesday, January 16, 2008 1:45 PM
Attach: — LifeBonus Standaione Packet 01-2008.pdf
Subject: Bonus Grid - Need Response From Ekberg

Sorry for the delay in responding Jolin but Dennis is on a plane as we speak
aud] wanted to talk to Lori Payne before I got back to you, 1 just wanted
to be sure that 1 gave you the correct information so here's the scoop!

Tt has been decided by the powers that be that your NMO Contract be
considered a "Stand Alone Account” therefore the Stand Alone bonus levels
apply, It is important however-that you understand that the bonus levels

only apply to your existing MO and IMO hierarchies. In other words, your
NMO contract is "grandfathered" as a Stand Alone Account. Should you
contract a new TMO or MO, then at that time, you will be assigned 4 new NMO
code number and new IMOs and MOs will fall under the "National Account” _
guidelines and bonus structure.

(See attached file: LifeBonus Standalone Packet 01-2008.pdf)

Pat Russo
AIG/American General
Southeast Regional Office Marketing Coordinator

(800) 787-9937, oxi. 6324
(214) 654-6326 fax
pat_russo@aigag.com

Check out our website with up to date status & messaging
system@litp//www.alglifebrokerage.com

"john okberg”
<john_ fienergy@be! To: <Dennis. Monroe@asigag.coni>,

<Pat Russo@aigas.com>
lsouth.net> cc: = "Financial Energy Ins, Group"

<fignergy@bellsouth.net,
. <Palti_ Newall@aigag.com>
01/16/2008 10:12 Subject: Re: Bonus Grid - Need Response Prom

Ekberg
AM

Sorry Dennis, Pat and Patti....... am so confused. In order for me to

1/16/2008
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 5of 27 PagelD 1557

Effective January 2008

AMGENERAL LIFE PORTFOLIO

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Amerkan Genes Life insurance Company
A mamiber of Amaiionn Intent Groug, tc STANDALONE SUMMARY

Following [s a summary ot First-Year Annualized Bonus for
American General Life Producis,™

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2007 2008
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SHESOOINED |. EB Os RTS SNR aa ee

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(f} First Year Annualized Bonus: The preductivily-bonus fs paid as a percentage of
commisstonabte palley premium and Is annualized,

(2) Tha Preductivity Banus Is pald based on Representatlve's actual production, i this
production does not meat required levels, (he Productivity Bonus may be reduced or
removed. Amaricun General Life insurance Company will be the sale authority in determining
producilon amounts and the Productivity Bonus palt!, and reserves all rights with regard to
the Productivily Bonus program, including termination and/or modification of the progeam at
any tine without nallce,

Bonus [s not-availabie on VUL, Annutties, A&H and products on Specialty Schedules,

ABUL SOUEPQ + Ree Gre208
VON FANE AA HHL S GOH, B.
Abapwet mated This summary is subject fo change al any time,

Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 6 of 27 PagelD 1558

Effective January 2004

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Amari 1

Shcaemermnaye” FIRST YEAR/RENEWAL/EXCESS

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- This is a summary of avaliable commissions, The actual commission schedule will govern in

thie event of any conflict between this summary and the applicable schedule,
Pick one schedule for Supplemental Business. Cholce applies to both First Year and
renewal commissions,

a sere,

PANTHER ATT TA

$10M Level $5M Level $5M Level $2M Level $2M Level
American General Life® s A a ~ D
First Year) R&E* |First Year} R&E* IeRs
Platinum Provider Ultra 117, | 4.00 | 1145 | 4.00 }BSe
Platinum Provider Ultra G 117 4,00 ; 1145 | 4,00
Platinum Protector G 117} 0/2.00 | 114.5 | 0/200 1
Platinum Accumulator © 107 4,00 | 1045 | 4,00 §
Platinum Survivor Ultra 112 4.00 | 109.5 | 4,00
Platinum Survivor Ultra G 112 4.00 | 109.5 | 4.00 [ESKQSiS
Platinum Protector Survivor G 104 | 0/3.00 | 103.0 | 0/3.00 [ext 30
Platinum Provider Ultra 500 117 | 4.00 | 1145 | 4.00 fe
Platinum Accumulator 500 © 107 4,00 | 104.5 | 4.00
Platinum Survivor Ultra 600 112 4.00 | 108.5 | 4,00

wit) MU ICO Rt!

$100,000

American General Life® H i

First Year R&E* |First Year) R&E* | First Year} R&E*
Platinum Provider Ultra 110 2.75 100 2,50 95 2.26
Platinum Provider Ultra G 110 2,75 100 2,50 95 2.25
Platinum Protactor G 410 O/1.75 | 100 | O/1.50 | | 95: 0/1,50
Platinum Accumulator © 100 275 | 90 | 250 | 85 2,25
Platinum Survivor Ultra 100. 2,75 90 2,50 85 2.25
Platinum Survivor Ultra G {00 2,75 90 2,50 85 225
Platinum Protector Survivor G 100 0/2.60 90 0/2.40 86 0/2.20
Platinum Provider Ultra 600 110 275 700 2,50 95 2.25
Platinum Accumulator 500 ® 100 2.75 90 | 2,50 85 2.25
Platinum Survivor Ultra 600 100 2.76 80 2.50 85 2,25

* Renewal and Excess

(1) For Supplemental Life business select one schedule to pay First Year Base Renewals and Excess,
Schedules § thru | nead home office approval,

(2) AGL pays no commissions on aviation extra premiums or any temporary extra premiums of seven years
duration or Jess, For table ratings above Table 6, first year commissions are paid on the basis of
Table 6 premiums.

(3) Commission reductions apply to Platinum Accumulator and Platinum Accumulator 500 for insureds
over issue age 65,

AIGLB-SSupt - fav 02-2005

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 7 of 27 PagelD 1559

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Effective January 2004

j tT AMERICAN
GENERAL AIG LIFE BROKERAGE

cman paar SUPPLEMENTAL LIFE PRODUCTS
Ameican General Life Insurance Company FI RST YEAR/R EN EWAL/EXC ESS

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‘ungrican Inlernalional Gompontas.@

Memibar of Amerinar Internaiional Group, a9, | M O/ B GA S U M MARY
This Is a summary of available commissions. The actual commission schedule will govern In
the event of any conflict between this summary and the applicable schedule,
Pick one schedule for Supplemental Business, Cholce applies to both First Year and
renewal commissions,

Beene errs

Sears)

Agent” Street Max
American General Life® J K L M N

First Year| R&E* (First Year| R&E* [First Year| R&eE* }Flist Year| R&E* [First Year| R&E*
Platinum Provider Ultra 90 2.00 85 1.75 80 1.50 75 4.25 70 4,00
Platinum Provider Ultra G 90 2.00 85 1,75 80 7.50 75 1.25 70 .00
Platinum Protector G 90 0/1,50 85 0/1,25 80 0/1,00 75 0/1,00 70 0/1,00
Platinum Accumulator © 80 2,00 75 1.75 70 1.50 65 1.25 60 1,00
Platinum Survivor Ultra 80 2.00 75 1.75 70 1,50 65 1.25 60 1.00
Platinum Survivor Ultra G 80 2.00 75 1,75 70 1,50 65 1.25 60 1.00
Platinum Protector Survivor G 80} 0/2,00 75 | O75 | 70 0/150 | 65 | 0/1,26 60 | O/1.00
Platinum Provider Ultra 500 90 2,00 85 1.75 80 1.50 75 125 | . 70 1,00
Platinum Accumulator 600 © 80 2.00 75 1,75 70 4.50 65 1,25 60 1.00
Platinum Survivor Uitra 500 80 2.00 75 |. 1.75 70 1.50 65 1.25 60 1,00

SUH e et

American General Life” Po Q Y

First Year] R&E* |First Year| R&E* {First Year| 8 & E*
Platinum Provider Ultra 65 0.00 60 0.00 55 0.00
Platinum Provider Ultra G 65 0,00 60 0.00 §5 0,00
Platinum Protector G 65 0,00 60 0,00 65 0,00
Platinum Accumulator © 55 0.00 50 0,00 45 0,00
Platinum Survivor Ultra 55 0.00 50 0,00 45 0.00
Platinum Survivor Ultra G §5 0.00 50 0.00 45 0,00
Platinum Protector Survivor G 55 0.00 50 0,00 A5 0,00
Platinum Provider Ultra 500 65 0,00 60 0,00 55 0.00
Platinum Accumulator 600 55 0.00 50 0,00 45 0.00
Platinum Survivor Ultra 500 65 0,00 50 0.00 45 0,00

, Renewal and Excess

(i) For Supplemental Life business select one schedule to pay First Year Base Renewals and Excess.
Schedules S thru | need home office approval, .

(2) AGL pays no commissions on aviation extra premiums or any temporary extra premlums of seven years
duration or less, For table ratings above Table 6, first year commissions are paid on the basts of
Table 6 premiums.

(3) Commission reductions apply.to Platinum Accumulator and Platinum Accumulator 500 for insureds
over issue age 65. .

AVGLO-SSup2 - Rov 02-2008 (4) Agent = MGA, GA or Producer, Street Max = J

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 8 of 27 PagelD 1560

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Effective May 2004

| AMERICAN
iMe GENURAL = AIG LIFE BROKERAGE
8 Brokerage BROKERAGE LIFE PORTFOLIO

Distributing products Issued by;

American General Ule Insurance Company FI RST YEAR CO MMISSIO NS

ANG Ue penaroge) Be Gislon of Ihe
mercan mpanies:’
Member of American infematlonal Group, ine. | M O/ B GA S U M MARY

This [s a summary of available commissions, The actual cornmisslon schedule will govern In
‘the event of any conflict between this surnmary and the applicable schedule.

For Brokerage Lif Portfollo, select 3 scheciules for (1) First Year Base, (2) Renewals/Excess
Over Target and (8) First Year Bonus,

Be cs Bee Sa

| American GeneratLife I . 8 A B C Do} ok. ds R ; 4
ContlaUl. “Ff 6/15 UL. . 90 85 80 75 70 65 |. 60 55
Elite UG” UL 90 86 80 75 70 | - 66" ‘| 60 |* 56
Elite UL UL 90 85 80 75 70 =|) 85 60 55
Ellte Survivor G end/Die UL 80 75 70 85 60 56 50 45
Elite Survivor 2nd/Dle UL 80 75 70 65 60 55 50 45
Elite Indexed UL Indexed UL 90 85 80 75 70 6 60 55
LTG Ultra-30 © /

LTG Ultra 0-30 Level Term 105 100 95 a0 85 80 75 70
LTG Ultra-20 9/
LTG Ultra 0-20 Level Term 105 400 95 90 85 80 75 70
LTG Ultra-15 ©/ ,
LTG Ultra Got Level Term 95 90 85 80 75 70 65 60
LTG Ultra-10 917 .
LTG Ultra C-10 Level Term 75 70 65 60 65 50 45 40
ROP Term 30, 20,15 — Level,Term 95 90 85 80 7 70 65 60
(1) "Agent" = MGA, GA or Producer
(2) AGL pays no commissions on aviation extra premiums or any temporary extra premiums of
sevan years durations or less, For table ratings above Table 6, first year commissions are
patd on the basis of Table 6 premiums, ,
(3) No first-year base, renewal or bonus paid on policy fee.
For VUL compensation consult your Broker Dealer
Platinum VM5+-, Supplemental products, and A & H products have separate compensation
schedules, consult your regional office.
Agent Street Max = §
AIGLBSBLP-FY ~ fave2-2005 This summary outlines commission information for products issued by various Issulng companies.
©2004 Amedcan Internatona) Group, ine. Agents and thelr uplines must be appointed with each respective legal entity to sell lls products,

Ab rights resented This summary is subject to change at any time.
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 9 of 27 PagelD 1561

| oe PRICK
OM GENERAL

AIG Life Brokerage

Otstributiig produats tasugd by;

Amerloan General Lifé Insurance Company
AlG Life Brokerage fs 8 division of the
Amerecan Intemafional Companies.®
Member of Amadean tniernatlonal Group, Inc.

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Effective January 2004

AIG LIFE BROKERAGE
BROKERAGE LIFE PORTFOLIO
PRODUCTIVITY BONUS LEVELS

IMO/BGA SUMMARY

Following Is a summary of First-Year Annuallzed Bonus for
American General Life Products,"

— ES rs M crt Roc cs

Paid Annualized First-Year Premium “Fixed Life
$  100,000/6 5.00
$ _ 100,000/) + 40.00
8 - 100,000F 15,00
$ 150,000 {6.00
$ 200,000 48,00
$ 250,000 49.00
$ 300,000 _ 19.50

IMO/6GA Minimum (01/2004) $ 350,000 20.00

$ 400,000 21.00
$ 450,000 22.00
$ 500,000 24,00
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AGLE-SBLP-PO + Rev 02-2005
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(4) First Year Annualized Bonus: The IMO/BGA bonus Is pald as a percentage of commissionable
pollcy premium and Is annualized,

Bonus Js not-available on VUL, Platinum VM5+-, Annuities, A & H and Supplemental
Life Products,

This summary outlines commission Information for products issued by various issulng companies,
Agents and thelr uplines must be appolnted with each respeciive legal entity to sell Its products,
This summary Is subject to change at any time,
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 10 of 27 PagelD 1562

OM ENERAL

AIG Life Brokerage

Distriputing produate issued by:

Armerican General Life insurance Company
AIG Life Brokerage is a division of the
American international Companies.
Member of Amertoan international Group, Ine,

enters _

Effective May 2004

AIG LIFE BROKERAGE

BROKERAGE LIFE PORTFOLIO
RENEWALS/EXCESS OVER TARGET

IMO/BGA SUMMARY

This Is a summary of avallable commissions, The actual commission schedule will govern in
the event of any conflict between this summary and the applicable schedule,

Pick Renewal/Excess Schedule, Maximum Initial producer total compensation

cannot exceed Level S.

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te Mears, Level Tern’ 2,00 | 1.00 | 0.00 | 0.00 | 0.00 | 0.00 | 0.00 | 000 | o00 | 0.00
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ROP Term 30, 20, 15 Level Term 4.00 | 3.00 | 200 | 1.75 | 150 | 1.25 | 1.00 | 0.75 | 050 | 0.25

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American General Life

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4.00 | 3.00 | 200 | 1.75 | 1.50 | 125 | 1.00 | 0.75 | 0.50 | 0,25

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Elite UL UL 4.00 | 3,00 | 200 | 1.75 | 1.50 | 1.25 | 1.00 | 075 | 050 0,26
Elite Survivor G end/Dle UL 4.00 | 3.00 | 200 | 1.75 | 1.50 | 1.25 | 1,00 | 0.75 | 060 | 0.25
Elite Survivor * 2nd/Die UL 4.00 | 3.00 | 200 | 1.75 | 150 | 125 | 1.00 | 075 | 050 | 025°

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4.00 | 3.00 | 200 { 1.75 | 150 { 1.25 | 1.00 | 0.75 | 0.50 -|.:0.25

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(5) Renewal Commissions: Changes in renewals are prospective from the date of change forward,
never retroactive. Renewal levels for downiine appointed representativas must be equal to or
jess than the appolntor's renewal level.

(6) No first-year base, renewal or bonus pald on policy fee,

(7) Renewal only, Excess does not apply.

“Renewal schedules J & K avallable to NMO, IMO, and BGA only,

Piatinum VMS+, Supplemental products, and A & H products have separate compensation

schedules, consult your regional office.

This summary outlines commission Information for products issued by varlous Issulng companies,
Agents and thelr upfines must be appointed with each respective legal entity to sell Its products,
This summary Is subject to change at any time.

Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 11 of 27 PagelD 1563

Effective January 2004

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AB Ue Brera SUPPLEMENTAL LIFE PRODUCTS

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This Is a summary of avaliable commissions. The actual commission schedule will govern In
the event of any conflict between this summary and the applicable schedule,
Pick one schedule for Supplemental Business, Cholce applies to bath First Year and
renewal commissions,

Peri eee ee Ss tc
$10M Level $5M Level $5M Level -  $2M Level eM Level
§ A B G —

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dere First Year| R&E’
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Platinum Accumulator ® 107 | 4.00 | 1045 | 4.00
Platinum Survivor Ultra 112 400 | 1095 | 4.00

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: IMO/BGA Entry Level _ $100,000

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First Year| R&E* [eis e3 (First Year| R&E* |First Year! R&E* [First Year| R&E*
Platinum Provider Ultra 110 4.00 Ge 105 2.75 100 2,50 95 2.28
Platinum Provider Ultra G 110 4,00 105 275 100 2,50 95 2,25
Platinum Protector G 110 | 0/2.00 | 405 | O/1.75 | 100 |. 0/1.50 05 0/1,50
Platinum Accumulator © 100 | 4.00- 95 275 | ‘90 2,50 85 2.25
Platinum Survivor Ultra 400 4.00 95 2.75 90 2.50 85 2.25
Platinum Survivor Ultra G 100} 4,00 jee 05 275 90 | 2.50 85 2.25
Platinum Protector Survivor G 100 | 0/3.00 [|e 95 0/2.80 90 0/2.40 B85 0/220
Platinum Provider Ulira 500 110 4.00 § 105 2.75 400 2,50 95- 2,25
Platinum Accumulator 500 @ 100 | 4,00 95 2.75 90 2,50 85 |. 2.25
Platinum Surviver Ultra 00 100 4.00 95 275 90 2.50 85 | .2.25

* Renewal and Exess.

(1) For Supplemental Life business select one schedule to pay Firs Year Base Renewals and Excess,
Schedules $ thru | need home office approval,

(2} AGL pays no commissions on aviation extra premlums or any temporary extra premiums of seven years
duration or less, For table ratings above ‘Table 6, first year commissions are pald on the basis of
Table 6 premlums.

(3) Commission reductions apply to Platinum Accumulator and Platinum Accumulator 500 for insureds
over Issue age. @5.

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 12 of 27 PagelD 1564

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Home Phone (727) Fa7 - BBQ 2. Internet E-Mail Address: Bie ve surname n@ Bley Mer
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State of Incorporation: fu Tex bDs GS O97 Zr 7

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bn cotnp lance with the Fair Credit Repmeting Act, 43 amended, we adving pou ihatwe wy us perl of our norte! procedure for
processing your epplication, request thal an irveviiyalive consumer teport be prewared ehenshy infacmettan is obletred
pervanal Iverviews with your neighbors, friends, former employers, primary insurance company o others with whore you ane
acquainted. This inquiry incluckes loformotion as to yaur-cheracter, general feputation, personal cherecterislics end mode af liv.
ing. You have tha right to maky a written request your primary appointing compat, within 8 repsonsble period of tere to
fective additional deialted information abou! the nature end scope ef this forer gation, if one & made, Such requests thovld be
cirected to the printary appointing company.

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 15 of 27 PagelD 1567

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 16 of 27 PagelD 1568

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(UN FINANGAheNERGY INSURANCE GROU INC:

TOU FREE: (B88) 568-3244 LOCAL (306) 437-8940 FACEOMGLE (395) 437-8163

q PAGES

From: John Ekberg L ay
Re: New MGA? contract

Date: February 22, 2002

Following is the contract for Life Equity B
Richardson is the principal, NY Brokers Group. Gary |
This organization receives business from a

pproximately 550
Approximately two-thirds of the producers sre in Fonds proaueets

Gary Richardson is very positive about havin i
£ @ relationship with th
American General Brokerage Group. Old Line will be the primary °

term carrier and J anticipate that we can cet i
UL ner and get a substantial amount of .

Because of the size of this group, the make-u
, p of the producers and
production potential, I am requesting that we utilize the MGA-7 me

. contract level to give them the flexibility that they need i
: recruiting and production, 7 ” W0 maxiinize

Thanks for all your belp. It appears the MGA-7 level will allow
k ” us to
significantly increase our production for the second half of 2002 and

beyond,
SSE CIM freae §

1089 HAMPSTEAD LAME, CHMOND BEACH, FL 92174
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 17 of 27 PagelD 1569

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THE OLD LINE LIFE Insurance Company of America
An American Genaral Compony ‘

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THE OVO LINE LIFE INSURANCE COMPANY OF AMERICA
By:

"President & CEO

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Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 19 of 27 PagelD 1571

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AN All American Life Insurance Company

The Old Line Life Insurance Company of American
(GENERAL :
FINANCIAL GROUP

March 15, 2002

Gary Richardson

c/o Life Brokerage Equity Group
Suite 208

2963 Gulf To Bay Blvd.
Clearwater, FL 34685

YOUR AGENT CODE IS; 0PU67

Dear Gary,

| would like to welcome you as a valued member of the American General Brokerage
Group field force. American General Brokerage Group distributes products through a
number of life insurance companies that are part of American General Financial Group,
one of the largest financial services organizations in the United States, As a valued
member of our field force, you have joined an established company that is committed to
financial integrity, service and long-term growth. \

Your state appointment authorizing you to submit applications for our company has
been approved by your resident Department of Insurance.

it is important that no non-resident business be solicited in any state until you
have received written notice that the licensing and appointment requirements of
that state have been satisfied, Please feel free to call our Licensing Department at 1-

888-653-5463, extension 3001 with any questions you may have regarding your
appointment status.

Remember to include your cade number on new business applications to ensure timely
underwriting and commission accounting processing. As you begin your association
with our company, you will certainly have questions or concerns that need to be

addressed, Please feel free to contact Bernie Radochonski, Regional Vice President, at
800-392-8103 for any assistance you may need.

Midwest Operations Center
750 W, Virginia Street « Milwaukee, W1 53204 * 414.286.1500 « Toll Free 1.888,653.5463
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 21 of 27 PagelD 1573

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\ 1 Véli ue 1
, MM ; DAN All American Life Insurance Company

The Old Line Life Insurance Company of America
GENERAL :
Fl NANCIAL GROUP

Enclosed is a copy of your newly executed contract. Please take a moment to review
this agreement and become familiar with its terms and conditions. We look forward to
many years of a mutually beneficial and prosperous relationship.
Sincerely,
t/t}, ae

bot Meller
Richard A, Hollar

President
American General Life Companies, Brokerage Group

RAH/dv
Enclosures

c: 0T781 - John Ekberg

Midwest Operations Center
750 W, Virginia Street » Milwaukee, WI 53204 + 414,286,1500 » Toll Free 1,888.653,5463
Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 22 of 27 PagelD 1574

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Paragt aph
Recitals
Definitions

1. > Authorized Acts

i. Limnation of Authority
. Advertising

VV. Relationship

V. Compensation

Vi. Vesting

Vil. General Provisions
Vill, Termination
x. Amendment

xX. Personal Guarantee

xi. EHective Date

Xi, ss Investigation Notice

XH 3s Federal Crime Control Act

Schedules
A. Commission Schedule — Primary Company
B. Appointment Apphication

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Represen SENTATIVE’) has trecuted an

Appoinunent Application sequesting appainiments
with one of more life Insurance subsidiaries of
American General Cor poration.

The Appoinument Application designates one of the life
Insurers as B Primary Appointing Company (the
“Primary Company”).

This Agreement together with the Appoinupent
Application and Commission Schedules for each
separate life insurer thal appoints REPRESENTATIVE
comprise the AEMRESENTATIVE’s conuact with cach
of the insurers that appoints REPRESENTATIVE,

Execution of thls Agreement by the Primary Company
and the REPRESENTATIVE evidences their agreement
Wo transact business In sccordence with the serms and
conditions sei forth in this Agreement

If REPRESENTATIVE requested appoinunent with one
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Agreement evidences NEPRESENTATIVE's agrnement
1o anssct business with cach aMilinted insvrer in
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this ement Each affiliated insurer that appoints
REPRESENTATIVE and sends » company commission
schedule to REPRESENTATIVE has aprecd wo usnsaa
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DEFINITIONS

A. Primary Com ~ the Primary Company bs
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Primary Company. The Primary Company's, respon
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B. Affiiaind Company - the Alfiliaucd Companyiles) bs
any othey life rance subsidiary of American
General Corporation that Is identified in the
Appointment Appicavon, appoints REPRESENTA-
TIVE and provides & company commisston sched-
we as evidence of 15 epreement lo vansea busi-
ness with REPRESENTATIVE according vo the
terms of this Agrecment

C, Insurer ~ the term Losurer as used in this Agree-
mentrefers to each of the Jife insurance companies
thet eppolnts REPRESENTATIVE, including
Primary Company,

D. Jorisdictlon ~ Eligihitity for, ot reoeipt of, ovolride
compensation op apouyer Represcniative’s business,

1, AUTHORIZED ACTS

A. The REPRESENTATIVE is authorized to condura
Insurer's business for the Insurer's products
covering such classes of risks na tbe Insurer may
authorize nod In those states where the product fs

spproved and REPRESENTATIVE is licensed and

appointed as required by sinte lw. Hf REPRESEN-

TAIVE is a corporadion, then the principals) of

such corporation must 2kso be Uceosed Individually,

Mrequived pursusnt lo approprinie state law,

B. The REPRESENTATIVE is authorized to wlket and
prompily remit to the Insurer the first premium on
business produced by the REPRESENTATIVE in

accordance with the Insuser’s rules and regula-
ions.

C, The REPRESENTATIVE will promptly deliver issued

policies in accordance with Insurer's polices and
procedures,

D, Al monies, sememenss, ar docurments received by
Ube REPRESENTATIVE for, oc on bebal of, te
Insure? shall be received by the REPRESENTATIVE
in 4 Dduclary capacity and Immediztelyy over
or dclivered to the Insurer, except as may be
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ih, URATATION OF AUTHORITY

The REPRESENTATIVE is without authority © perform
ony act or thing other than that expressly granted tin

agreement and expressly agrees noi to perform
any of the following sci: pe

1,Make, modify, slter or discharge any policy.

2.Estend the time peyment of any prerwivs.

3,Walve any Sorfelnure.

4.Guarantee dividends or Interest reuss,

S.Incuir any debt of Gebiity in the name of the Insures,
6.Withhold, coromingle or convert vo tbe use of the
NEPRESENTATIVE or the benefit of otbers, any
roontes, securities, policies ot recelpus belonging to the
Insurey, the epplicant, or the besured, of fall ta
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policies,

7 Accept ot deposit any check or draft for premiums
made payable to otber than the Insurer.

8.Undess in the best nancial interest of the
policyowner, directly or Indirecily Loduce or atiempe to
induce eny policyowners of Insurer to reinguish,
surrender, replace or lapse thelr policies.

1. ADVERTISING 7 USE OF LOGO

REPRESENTATIVE may, at REPRESENTATIVE’:

es pense, advertise Insurer's products, provided the

text of all sdvenising, nduding any form of sales/
yomotions] material such as, bot not lrolied tos
usiness cards, stationery or other Indkations eof

agency under this agreement and including the use of

the name “American General.” the American Ceneral

logo ot the parce of any inswer Is » pproved In writing
by the company before use,

TV. RELANONS HIP

The relstionship between the Insurers end the REPRE:
SENTATIVE shall be that of principal and independent
contracior, znd nothing conuined berein shall be
construed as creating the relationship of employer and -
eroployet Jor sny purpose, Including ux p . °
REPRESENTA grees to be responsible lor all
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REPRESENTATIVE shall be tree vo exercise Indepen-
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REPHESENTATIVE shall perform the services autho+
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A, Subject t s hereof and the

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Insurer, the full compensavon of tie REPRESENTA.

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forth in the Schedule of Commission in effect at the
dave tbe first Sul) premiun is reecived by the
Ipsures, which Schedule of Commission and all
amendments, suppkments and replacements
thereof and thereto ere hereby made a part of this
agreement

B. Commission is subject to change at any Ume by
written novice by the Insurer to the AEPRESENTA-
TIVE, but no such change shall aflect commissions

on any policy issued prior to the ellective dete of
such change.

C. i commission rates are not now shown in the
Schedule of Commission, including copversions,
peplacements or, the exercise of re-entry provisions
or, Wapectal premium rate quotations ate made,
commission rates shall be such as may be fwed by
the Inswer as of the Gime “tren sue ts cMecive in
accordance with mites and practices of the Insurer
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D. In the event any policy on witich the REPRESENTA:
TIVE Is enuved wo commissions shall lapse because
of nonpsyment of premium end shall be yeplaced
or reinstated, any commissions on the new of
reinstated policy shal be paynble only st the sole
discretion of whe Insurer,

E. To be entitled 10 commissions, U any, the
REPRESENTATIVE’: namo or the name of another
Representalve under your Jurisdiaion most
eppear as soliciing agent on the application for

insurepoe, Dispuies respecting commissjons shall
be subject 19 dedsion and settlement by the

' Insure? and the Insurer's decision shall be final
and binding wpon the partics involved, .

F. Whenever, in the Judgment of the Insurer, it shall
become edvisnble to recal} any policy issued belore
delivery thereof ib made, the REPRESENTATIVE

shall prompoy refund to the Insurer any cotmmis-
sions recojwed on account of such policy. Whenever,
aher delivery, the Insurer sha cflect or procure
the surrender, rescission of cancelation of any

licy and refund premiums pad thereon, the

psier shal) hove the right to charge back commis-

sions and demand thal the REPRESENTATIVE
repay such commissions vo the Insurer, HM the
Insurer shall refund or waive the premium or
premlums under the provisions of an diss bility
walver of premium vider, the REPRESENTATIVE
shall lose all rights lo comm}ssion and persistency
Joes es applied to such rehimded or welved premi-
yas, and sball repay any emounts advanced, An
Insurer may include in its Comunission Sciedule,
which is incorporated ax a part of this sgreement,
guidelines desalbing more specheslly 4 orcum-
stances wnder which it wil) charge back commis-
slons on certsin products, In the absenco of puch
guidelines, the Insuror’s rights shall he as de-
scribed in this Section V. Compensation,

G. In the event evy policy on which the REPRESENTA-
TIVEls endued w conunissions sball be converted
orreplaced, ay commissions on the new _policy

shall bo subjed to adjustment. and payable oily at
dhe sole discretion of tho Insurer,

rte

. f

H. Excepl where prohibited-by any Stee, he REPRE-
SENTATIVE is responsible for all License lees,
including thos of hy Representa ives, Tht losnarer's
discredon shall govern with respect to whether the
Insurer shall charge w the REPRESENTATIVE’S
commission of other ompensation nccovol the: oost
of obtaining and renewing the REPRESENTATTVE's
and its Representallves’ heense or Ucenies and/or

appointment fees. This practice is subject ta chan
eppelntnent ees ee Ree uke Be

1. Policy applications fos anv insurer will be issued
end commissions pad by the Insurer.

vi, VESTING

A. As long as this agreement pemains in elect, all first
ytar 2nd renewal commissions be pal as
they accrue: hownver, any such payments are
subject w thoschedule of commissions in cffact at
the date the first full preroturs is rerolved by the
Unsurey, the provisions and mules of the besurey

regarding wo first yeay and yenewal commis
sions required wo issue a check,

During any consecutive 12-menth period Sollowing
the terminsbon of this agreement. soul renewal
commissions are less than the minimum required
by the Insuror, vesling automatically tormios wes
and no additional ommission payments will be
due from the Insure

.

spouse, such monies will be p wf
the REPRESENTATIVE; provided however, that f
the REPRESENTATIVE is & corporston or a
partnership, all such ppyments will be pald to sak
corporation or parinership.
VIL. GENERAL PROVISIONS.

A. The Insurer piey make such changes and decisions
as H deems sdvissbke in the conduct of its business,
Including the discontnuance of any policy form ov
the withdrawal) fom any terriionys and the Insurer

shall incur no |iabity 19 the REPRESENTATIVE by
reason of its doing £0.

§. The Insurer shell havo the right to test market any
of ts products op s select basis and ot the disce-
von of the Insurer.

C. The REPRESENTATIVE shall indomully and holt the
Insuror houmoless ageinst or from amy tnd all exe
pense, costs, cates of action, and damages including
without Vinitadon, resonable atiornty foes, resulting
rom or wing out of any tina. orized or negipent
aa of commission or omision by the REPRESENTA-
‘TIVE or tts employees, directors, officers, or Hepre-
sentatives under ils jurisdicdion, This provision shall
survive termination of this agreement

Case 8:15-cv-00192-AEP Document 127-11 Filed 05/02/17 Page 26 of 27 PagelD 1578

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The Insut in cach REPRESENTATIVE’S files tries reau to the
commissions and fees payable hereunder toward marbeting, altempted sale or stle of the Insurers
any indebledness and/or other obligations due products, If the Insurer chooses to tasped such
(yom the REPRESENTATIVE or anyone under the records, it will endeavor 10 do $0 during normal
Jurisdicdon of the REPRESENTATIVE to any business hours and alter piving reasonabk noice,
Primary Company andor AMMisted Comps ny/ies unless, in the judgment of the Insurer, unusual
with foterest at the lega? rate. This prior right and cu curnstances requize inspection at othe limes or
offset shall not be extinguished by the rerminston inspection without prior notice. This provision shall
of this agreement, Following the termination ol any survive lermination of this agreement for a period
Representative Under the Jusisdicuon of the of rwo (2) yenrs.

REPRESENTATIVE, should the amount in any

commission account of thas Hepresentative be

L. For as long as this agreeroent is In forex, the
lng shcrent Wo repay 2

ny amount due the Insurer, REPRESENTATIVE vil) mrintzia Errors |

the debit will become the responsibility of the Omissions (E80) coverage and will provide the

BEPBESENTATIVE, in accordrnce with the Insurer anoually proof of such ESO coverage in
Insurer's then custent debil collection procedure. a manner acceptable to the Insurer.

E. Neither the agreement, any duties or delegation M, Mf the REPRESENTATIVE Is served with s regula-
under this agreement, nor the Commissions or fees tory inquiry or } | ie involving Insurer
acerving hereunder, nor any intesest herein, nor business, the REPRESENTATIVE shall immediately
any right os claim created hereby or arising by nouly the Insurer by sending to tbat insurer's
reason of the REPRESENTATIVE acting her eunder, Compliance Officer, a copy © the papers, served by
shall be zssignabke, except upon the written overnight delivery, by the end of the basiness day
consent of the Insurer. nex fallowing tho ony oF receipt by

“tad thet . the REPRESENTATI
F, Forbearance of failure of the Insurcr 19 insist upon .
rormance of this agreement or 10 enforce is N. The REPRESENTATIVE is responsible for assuring
rights hereunder, shall not constitute » waiver of its that any Representative under ‘the Juridktion of
rights oy privileges hersundey or of hs subsequent OE Oe en cbts of huly informed
shi to insist bpon suc ormance, a € provisions ©
righ pon suen pe , oflered by the Insurer for which the fleprese nantive

G. This agreement, induding the Appointment conducis Insurer business; (2) represent such
Application and any Commission Schedolets) yo) oducts edequately and Eoirly 1o prospective
incorpornied as pert of the Agreement, contins alt wi chasers: 2nd (3) act ly compiiang with the .
prom)ses. Inducements and represeniatons nsuver's polides and procedures a5 £41 out tw the

ween the partes, This sgreement supersedes Customer Service and Compliance Manual, Opera:
any 2nd all previous agreements between the Dons Manual, or otherwise communicaled to the
parties berrin pertaining to Dre soliciiation of the HEPRESENTATIVE, Including, without Unktston,
su rs Peta and the peyment of monies to hose regarding suitability of sales logulries and
the REPRESENTATIVE provided, howeven, thet compliance with the Insurer's prindpks and code
rights or obliga tens which have aren dy scorved of ethics) mashet conduct.
(and would survive tormination) under any previ- .
ous wontract between the Insurer ond the REPRE- ©, When the Jnsurer sssigns v0 the REPRESENTATIVE
SENTATIVE shall not be herchy impaired. any agency not recruited by the REPRESENTATIVE,

tben the Insurer may reassign that agency to

H. The Josurer peserves the right 10 decline oF modily snother upline of the Insurer's cholct at any aime

any »pplication for insurance. and without the necessity of a relenst
. . WEPRESENTATIVE, If the Insurer wishes to remove

1. This agreement shall not be Bective unt) exccuted any agency recruited b the REPRESENTATIVE
by the Primary Company, Ooce this agecrent is ef- fom the Jurisdiction ol the REPRESENTATIVE, the
Jecdve with the Primary Company, may beoome Inswer will negotiste » release: however, such
eflective with Afiinted Corpanylics) as described relense will pol be wnreasonably withheld by the
herein. REPRESENTATIVE.

J. Should the REPRESENTATIVE. Bt nny time, violate P. REPRESENTATIVE is not entitled to participate in
any provision of Section II) of this agreement, any REPRESENTATIVE benefit pro enceyt
enuved Liston of Authority, or commil sny those which are provided by the P Cornpany.
fraud upon Insurer or its policyholders: have & REPRESENTA ix pot eligible 10 participate In,
license as agent or. broker revob ed for cause atuer or to receive any benefits from, any programs
notice & taring by a state insurance deparuncal rovided by the Alliliste Cormpany/ies,
or otherwise act 10 projudice rmoterially the Lover P 9 pany .
ests of Insurer, the REPRESENTATIVE shall, at the

_Q, Disputes arising under this Agreement shall be
opdon of the Insuret, forfeit an and all rights wo all subject to the laws of the state where the knsurer’
commissions and monies that the REPRESENTA-

te REP engaged in the dispute fs located,

TIVE might otherwise heve undey agreoment, wae

vested oF not, itis expressly agreed Whaormines R. The sven within which the REPRESENTATIVE shall
Yon of this agreement shall not terminate this

have the right to represent the Insurer is not
provision, assigned exclusively wo the REPRESENTATIVE,

K. The REPRESENTATIVE agrees to maintain complete S. REPRESENTATIVE ngr
and atcursio records of the marbetng and cole of dons of the Insurance Departmont and the insur
the Insurer's products, The Insurer reserves

the ance laws In the state(s) In which the REPRESEN- r
right to inspect such records and other documents TATIVE is conducting Jnsurer's business,

ets to conform to all regula-

Poe,
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nig agreement shall automatically terrainate Epon
ie death of HEPRESENTATIVE WREIRESENTA-
VE is 27 Individual or upon dissolution of
EPRESENTATWE if REPRESENTATIVE bs @
orporsion oF & parinership.

TERMINATION

his agreement shall terminate Upon The yevoca hon
ov non-tenewal of the PEPRESENTAVIVE's Neense.

This agreement may be rermina ied with or withoul
cause by any Insurer (subjeo provisions D and E
pelow) or die REPRESENTATIVE by sending
wrinen notice of such termination to the Isst
Loown address of whe omer party .

, Upon serminaiion, the REPRESENTATIVE shalt

jromodisiely psy 10 cash to the Insurer all suas

qhet are due oT become dv hereunder-and shall
immediately deliver to the Insuset ay) materinds

connected with tbe business ol the Insurer end
§ poLscrials inc

Insel de,
but are not Vimited wo, rat qands, }erers, records,
compulel softwose, general supplies oF ENY and
other Indications ol agenry provided py the Insurer
rninstion of this
apiecment Bors not yelease Dre REPRESENTATIVE
from convouing bi airy vs the Insurer for immedi
pie vepayment os any and all opaarned Lyrst year
commissions OF bonuses.

£. Ternminsbon of this agreement hy the Primary
Coropany terninnics ail conwoeis with Afhilinued

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ropany/res without specie notes Wo the nEPHE-

ted Company may serminaie 15 9 ge
Whe REPRESENTA

neuncy: however, such
fisclf aflecs the vesting of

F Termination of this
yervolnates BOY previous &
the Insurer thet termine

IX. AMENDMENT

This coritract cannot be changed by any oral promise
oy stalement and po WHEE odiboaGon Wid bind the
' Jnsurer onless approved by the President of the

sking the sodification.

. X, PERSONAL GUARANTEE

ent avploma tically
emeni to repr escent
the Agrecmenh

Exch and every jndivid ual who signs thls pgreement
warranis that they ive sutbority Wo pind she ontity on
whose behalf they ant signing.

x1, EFFECTIVE DATE
‘The zgreed eflecive date will be the date that this

agietment 10 represent Is 5 ed and acknowledged
py the Primary Company 35 nereina fer specified

aren erneretntneentas

xi. INVESTIGATION NOTICE

The undersigned hezeby acteriz cs she Primry and
Ash liaied Company/ies wpdver an Invesipvon
concerning chara Get. oedit repulsson and prrsonal
Lralis und sek2ses those conta and the insurer
Isom any lability ‘oath pespect vo The conten of the

j i sded and any reswung acon by the
Insorer including he sharing of sych informuon ar
the termination of this agreement 10 represent,

XI, FLDERAL CRIME CONTROL ACT
A.Undersigned warrants ft

i. ras nor been contieud of TY molar RET
involving dishonesty oF breach of pun &

2. has pbiained writen auiboriza Bon 10 mpage in
the business of insurance trom the Inurnce
Depanment ja
resides which REPRESENTATIVE

upon Insurer 7

B. The NEPRESENTATIVE 8 gt @eS Ww
represeotavODs bn the Conbdents Back
yrouod Ipforroasion Secon of Parni4dithe Ap-

poinbpent Application by potifying tht Prin ary
Company ia writing within whirty (30) days, if there
spould be a changt inthe response lo wy cpuestion
in the Information Staion of Part d othe Ap

ment Applica von.

AGAR 1036-0100

